   Case: 1:19-cv-02808 Document #: 31 Filed: 06/01/19 Page 1 of 2 PageID #:3762



                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
SEKIGUCHI CO., LTD.,
                                           Case No.: 1:19-cv-2808
      Plaintiff,
                                           Judge Rebecca R. Pallmeyer
   v.
                                           Magistrate Judge Sunil R. Harjani
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                    DEFENDANT
               82                                    dreambabygirl



DATED: May 31, 2019                                 Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    1033 South Blvd., Suite 200
                                                    Oak Park, Illinois 60302
                                                    Telephone: 708-203-4787
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-02808 Document #: 31 Filed: 06/01/19 Page 2 of 2 PageID #:3763



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 31, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
